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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DENA NATOUR FOR MINOR, HADI                     )
 ABUATELAH,                                      )
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )
                                                 ) Case No. 22-cv-03998
 CHIEF OF OAK LAWN POLICE, DANIEL                )
 VITTORIO, OFFICER B. COLLINS,                   ) Judge Steven C. Seeger
 OFFICER P. O’DONNELL, OFFICER M.                )
 HOLLINGSWORTH, and THE VILLAGE                  )
 OF OAK LAWN,                                    )
                                                 )
        Defendants.                              )


    DEFENDANTS, VILLAGE OF OAK LAWN AND CHIEF OF POLICE, DANIEL
       VITTORIO’S MEMORANUM IN SUPPORT OF A MOTION TO STAY


       NOW COME the Defendants, the Village of Oak Lawn (the “Village”) and Chief of Police,

Daniel Vittorio, by and through their attorneys, Peterson, Johnson & Murray LLC, for its

Memorandum in Support of Motion to Stay, states as follows:

                                          Introduction

       This lawsuit arises from a July 27, 2022, encounter between officers from the Village of

Oak Lawn Police Department and Hadi Abuatelah, a minor. Plaintiff Dena Natour filed the seven-

count complaint on his behalf and has named Officer O’Donnell, Officer B. Collins and Officer

M. Hollingsworth as Defendants in both their individual capacities. (Doc. # 15, Second Amended

Complaint, ¶¶ 3-5) In addition, he has named Daniel Vittorio solely in his official capacity as the

Chief of Police as well as the Village of Oak Lawn, as Defendants. (Doc. # 15, ¶¶ 6-7). Count I is

a Section 1983 claim for excessive force/failure to intersection against Officer O’Donnell and


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defendant Officers B. Collins and M. Hollingsworth (collectively, “Defendants Officers”). (Doc.

# 15, Second Amended Complaint, p. 4). Count II is a Section 1983 racially motivated conspiracy

claim. (Doc. # 15, p. 5). Count III is a Monell claim against defendant Village of Oak Lawn.

Count IV-VII are state law claims, respectively for: intentional infliction of emotional distress;

battery, respondeat superior; and indemnity. Again, Plaintiff lumps in all “Defendant Officers”.

(Doc. # 15, p. 6-9).

       On November 4, 2022, Defendants, Officer O’Donnell, Officer B. Collins, and Officer M.

Hollingsworth moved to stay the case. (Doc. #29). For the reasons set forth below, the Village

and Chief Vittorio incorporate by reference the Defendant Officers’ memorandum in support of

their motion to stay and the reasons contained therein supporting their request for a stay.

                                              Discussion

        The Village and Chief Vittorio join Defendants, Officer O’Donnell, Officer B. Collins, and

Officer M. Hollingsworth motion to stay and also requests a stay as to any further proceedings in

this case. Where a stay is appropriate for a defendant officers, a stay is also appropriate as to a

defendant municipality. See Chagolla v. City of Chicago, 529 F. Supp. 2d 945, 948 (N.D. Ill.

2008). While a municipality has no Fifth Amendment privilege, courts have recognized that where

a stay has been granted to individual defendants, a defendant municipality would be in an unfair

position if it, likewise, did not receive a stay. Id. at 948. In such a situation, because the testimony

of the individual officer regarding the underlying incident would be unavailable, the defendant

municipality's ability to defend itself would be impaired. Id.

        Here, the Village and Chief Vittorio’s ability to defend itself would be impaired if the case

was not stayed. The claims against the Village and that of Chief Vittorio in the Second Amended

Complaint are inextricably linked to the claims against the individual Defendant Officers. The

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Defendant Officers’ participation in the case is critical to the Village and Chief Vittorio’s ability

to defend themselves. Because a stay is appropriate as to defendant officers, the Court should also

stay the case as to the Village and Chief Vittorio.

       WHEREFORE, the Village of Oak Lawn and its Chief of Police, Daniel Vittorio, requests

that this Court grant the instant motion and stay these proceedings and grant any other relief

deemed appropriate.

                                              Respectfully submitted,

                                              THE VILLAGE OF OAK LAWN and CHIEF OF
                                              POLICE DANIEL VITTORIO

                                              /s/Kevin M. Casey
                                              Kevin M. Casey
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                                  CERTIFICATE OF SERVICE
       I hereby certify that on November 4, 2022, I electronically filed DEFENDANTS’
MEMORANDUM IN SUPPORT OF MOTION TO STAY with the Clerk of the Court using the CM/ECF
system who will notify all registered CM/ECF participants.

                                              /s/ Kevin M. Casey




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